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                      7      THOMAS A. SEAMAN
                      8                                  UNITED STATES DISTRICT COURT
                      9                            SOUTHERN DISTRICT OF CALIFORNIA
                     10
                     11 BRUCE J. STANIFORTH,,                           Case No. 3:14-cv-01899 GPC (JLB)
                     12                     Plaintiff,                  JOINT STATUS REPORT RE:
                                                                        RECEIVERSHIP ACTION STYLED
                     13               v.                                SEC v. TOTAL WEALTH
                                                                        MANAGEMENT, INC., ET AL.
                     14 TOTAL WEALTH MANAGEMENT,
                        INC.; et al.,                                   Judge: Hon. Gonzalo P. Curiel
                     15
                                      Defendants.
                     16
                     17               TO THIS HONORABLE COURT, ALL PARTIES, AND THEIR
                     18 COUNSEL OF RECORD:
                     19               PLEASE TAKE NOTICE THAT, in accordance with this Court's
                     20 November 30, 2017 order directing the parties to file a status report regarding the
                     21 status of the related Securities and Exchange enforcement and receivership action
                     22 styled SEC v. Total Wealth Management, Inc., et al., USDC, S.D. Cal. Case No. 15-
                     23 cv-226 BAS (MSB) (the "Receivership Case"), Thomas A. Seaman (the "Receiver")
                     24 and plaintiff Bruce J. Staniforth, hereby submit the following Joint Status Report:
                     25 I.            RELEVANT STATUS.
                     26               A.    Status Of Receivership Case And Litigation Stay.
                     27               The Receivership Case remains pending before the Honorable Cynthia
                     28 Bashant, and the litigation stay imposed pursuant to Judge Bashant's February 12,
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   Mallory & Natsis LLP                                                               3:14-cv-01889-GPC (JLB)
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                      1 2015 "(1) Preliminary Injunction, Appointment of a Permanent Receiver, and
                      2 Related Orders; and (2) Order Vacating Hearing on Preliminary Injunction" (the
                      3 "Appointment Order"1) (Receivership Case ECF. No. 8), remains in place. This
                      4 Court applied the litigation stay to the of the above-entitled action on May 12, 2015,
                      5 except as to non-receivership Defendants. (ECF. No. 57.)
                      6               B.    Receiver's Asset Recovery Efforts.
                      7               As of the submission of his Eighth Interim Report and Petition for
                      8 Instructions (Receivership Case ECF No. 246), the Receiver held approximately
                      9 $3,353,316, in cash, for the administration and benefit of the entities in receivership.
                     10 His efforts to recover additional assets continue, most notably in the form of a
                     11 tentative settlement of the action styled Seaman v. Private Placement Capital Notes
                     12 II, LLC, et al., USDC, S.D. Cal. Case No. 16-cv-0578 BEN (DHB) (the "PPCN
                     13 Action") which, if approved in the Receivership Case and subsequently performed,
                     14 is expected to result in the Receiver's recovery of at least another $1 million. As of
                     15 the date of this Joint Status Report, the proposed settlement of the PPCN Action has
                     16 been submitted for Court approval in the Receivership Case (see, e.g., Receivership
                     17 Case ECF No. 256).
                     18               A settlement in the action styled Seaman v. Lively, et al., San Diego Superior
                     19 Court Case No. 37-2016-00003644-CU-PN-CTL (the "Negligence Action"), which
                     20 was previously referenced as an anticipated source of receivership recoveries was
                     21 approved in the Receivership Case (see, e.g., Receivership Case ECF No. 183), with
                     22 all funds paid from that settlement ultimately awarded to the Receiver (see
                     23 Receivership Case ECF No. 229).
                     24
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                     26     1
                                 As reflected in prior submissions to this Court, the litigation stay imposed by the
                     27          Appointment Order applies only to those entities placed into receivership,
                                 including Total Wealth Management, Inc. and its subsidiaries and affiliated,
                     28          including but not limited to Altus Capital Management, LLC (collectively, the
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                                 "Receivership Entities").
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   Mallory & Natsis LLP                                                                    3:14-cv-01889-GPC (JLB)
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                      1               At present, and the settlement funds from the Negligence Action having been
                      2 paid over to the Receiver, the Receiver's principal asset recover effort relates to the
                      3 pending settlement of the PPCN Action.
                      4               C.    The Claims And Distribution Process.
                      5               In November 2016, the Receiver developed and proposed summary claims
                      6 procedures whereby investors in and creditors of the Receivership Entities could
                      7 submit claims for repayment against the Receivership Entities. (Receivership Case
                      8 ECF. No. 124.) On February 27, 2017, the Court approved the Receiver's proposed
                      9 claims procedures, and established a claims bar date of May 8, 2017. (Receivership
                     10 Case ECF No. 137.) The Receiver thereafter completed his processing of
                     11 approximately 300 claims, and developed his proposed treatment of the claims,
                     12 which was statistically validated. Plaintiff Staniforth submitted a timely claim.
                     13               In August 2018, the Receiver sought Court approval of his proposed
                     14 treatment of claims, which approval issued in the form of an Order: (1) Overruling
                     15 Objection, (2)Establishing Allowed Claims, and (3) Approving Omnibus and
                     16 Specific Claims Objections (the "Claims Order"), issued in the Receivership Case in
                     17 September 2018. (See, e.g., Receivership Case ECF No. 230, 239, 240.) Since the
                     18 issuance of the Claims Order, the Receiver has sought and secured Court approval
                     19 for his proposed omnibus distribution plan, and completed a distribution in the
                     20 aggregate amount of approximately $2.8 million on allowed claims, including
                     21 Plaintiff Staniforth's claim. (See, e.g., Receivership Case ECF Nos. 245, 248, 253.)
                     22 Should the proposed settlement in the PPCN Action be approved and performed, the
                     23 Receiver may recover additional funds from which to make a second and final
                     24 distribution on allowed, priority claims.
                     25 II.           CONCLUSION.
                     26               For the foregoing reasons, and particularly given the continued pendency of
                     27 the Receivership Case, the Receiver's continuing asset recovery efforts, and the
                     28 potential for a future distribution, the Receiver respectfully requests that this Court
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                      1 continue its stay of the above-captioned matter pending further updates from the
                      2 Receiver, at least as to the Receivership Entities. Plaintiff Staniforth has no
                      3 objection.
                      4
                      5 Dated: September 17, 2019                  ALLEN MATKINS LECK GAMBLE
                                                                    MALLORY & NATSIS LLP
                      6                                            DAVID R. ZARO
                                                                   JOSHUA A. DEL CASTILLO
                      7
                      8                                            By:        /s/    Joshua A. del Castillo
                                                                         JOSHUA A. DEL CASTILLO
                      9                                                  Attorneys for Receiver
                                                                         THOMAS A. SEAMAN
                     10
                     11 Dated: September 17, 2019                  CROSS LAW APC
                                                                   OLEG CROSS
                     12
                     13                                            By:        /s/    Oleg Cross
                                                                         OLEG CROSS
                     14                                                  Attorneys for Plaintiff
                                                                         BRUCE J. STANIFORTH
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   Mallory & Natsis LLP                                                              3:14-cv-01889-GPC (JLB)
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             am employed in the County of Los Angeles, State of Califomia. I am over
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     the age of 18 and not aparty to the within action. My business address is 865 S.
 5   Figueroa Street, Suite 2800, Los Angeles, California 90017 -2543.

 6              A true and correct copy of the foregoing document(s) described below will        be
     served in the manner indicated below:
 l
           JOINT STATUS REPORT OF RE: RECETVERSHIP ACTION STYLED
 8
                  SEC v. TOTAL WEALTH MANAGEMEM, INC., et al.o
 9
     1         TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC
10             FILING ("NEF") - the above-described document will be served by the Court
1l             via NEF. On September 17, 2019, I reviewed the CM/ECF Mailing Info For
               A Case for this case and determined that the following person(s) are on the
t2             Electronic Mail Notice List to receive NEF transmission al the email
13             address(es) indicated below:

t4             a     Vincent Brown
                     vince@vj blaw. com, vj blaw @gmai l. com
l5             a     Oleg Cross
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               a     Michael Lawrence Gallo
17                   mgallo@sparerlaw. com, admin@sparerlaw. com

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l9             a      Joshua Andrew del Castillo
                     j del casti I I o @allenmatkins. com
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2T

22          I declare that I am employed in the office of a member of the Bar of this Court
     at whose direction the service was made. I declare under penalty of perjury under the
23
     laws of the United States of Americathatthe foregoing is true and corect. Executed
24   on Sente mber 17.2019 at Los Angeles,              a.

25                                                                      il|fu^
26                                                            Martha Diaz

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